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                            UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION

United States of America,

               Plaintiff,

               v.                                Case No. 1:11cr136-4

Allan Finch,                                     Judge Michael R. Barrett

               Defendant.

                                        ORDER
      Before the Court is Defendant’s Request for Determination of Mental

Competency to Stand Trial Pursuant to 18 U.S.C. § 4241 (Doc. 44) and Request for

Determination of the Existence of Insanity at the Time of Offense Pursuant to 18 U.S.C.

§ 4242 (Doc. 45) . A hearing these motions was conducted on January 5, 2012

wherein the United States does not object.

      Accordingly, pursuant 18 U.S.C. § 4241(b), the Motions are GRANTED.

Accordingly, the United States Pretrial Services, has arranged for a psychiatric and/or

psychological examination and report pursuant to the provisions of 18 U.S.C. § 4247(b)

and (c). Upon completion of the examination and under 4247(c), a report shall be

prepared and shall be sent to:

                               Honorable Michael R. Barrett
                        239 Potter Stewart United States Courthouse
                                    100 East Fifth Street
                                   Cincinnati, Ohio 45202

      This Court will provide copies to counsel for the defendant and counsel for the

United States, and schedule a hearing in accordance with 18 U.S.C. § 4247(d).

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            Pursuant to the Speedy Trial Act provisions of 18 U.S.C. § 3161(h)(1)(A), the

time required for trial of the defendant and his co-defendants, as this matter is part of a

multi-defendant case involving a conspiracy to distribute a controlled substance, shall

be tolled from the date of the instant order until the results of said psychiatric

examination are received by the Court, such period being a delay contemplated by 18

U.S.C. § 3161(h)(1)(A).

            IT IS SO ORDERED.

                                                      S/Michael R. Barrett
January 5, 2012                                     Michael R. Barrett
bac                                                 United States District Judge
